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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

RICHARD J. REYNA, SR.,                         )
                                               )
               Plaintiff,                      )
                                               )       Civil Action No. 24-2638 (UNA)
v.                                             )
                                               )
CITY OF OSHKOSH, WI, et al.,                   )
                                               )
                Defendants.                    )

                                  MEMORANDUM OPINION

       This matter is before the court on its initial review of Richard Reyna’s pro se amended

complaint, ECF No. 3, and application for leave to proceed in forma pauperis, ECF No. 2. The

court will grant plaintiff’s application to proceed in forma pauperis and will dismiss the amended

complaint, and this case, without prejudice.

       “A complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to

relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A complaint that lacks “an arguable basis either in

law or in fact” is frivolous. Neitzke v. Williams, 490 U.S. 319, 325 (1989).

       Here, Mr. Reyna sues multiple defendants (most of whom appear to be located in Wisconsin),

including the City of Oshkosh, the Oshkosh Police Department, the Grand Opera House, the

Winnebago Sheriff’s Department, the Day by Day Shelter, a U.S. Bank location, the 4th District

Judiciary, and more. See ECF No. 3 at 1-2, 29-30, 33. He alleges that Defendants and many

others, including countless individuals and entities located throughout the Midwest, have engaged

in a widespread corrupt conspiracy to steal his money, artwork, and gold bars to which he is

allegedly entitled. See id. at 2, 4-12, 14, 16-20, 22-23, 26-30, 33. He also alleges that Defendants

have stalked his family, hacked his accounts, stolen his identity, subjected him to “false



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convictions,” and concealed his true “bloodline.” See id. at 4, 6, 12, 21-23. Mr. Reyna does not

make a clear prayer for relief.

        The Supreme Court “has repeatedly held that the federal courts are without power to

entertain claims otherwise within their jurisdiction if they are ‘so attenuated and unsubstantial as

to be absolutely devoid of merit.’” Hagans v. Lavine, 415 U.S. 528, 536-37 (1974) (quoting

Newburyport Water Co. v. Newburyport, 193 U.S. 561, 579 (1904)). A court may dismiss a complaint

as frivolous “when the facts alleged rise to the level of the irrational or the wholly incredible,”

Denton v. Hernandez, 504 U.S. 25, 33 (1992), or “postulat[e] events and circumstances of a wholly

fanciful kind,” Crisafi v. Holland, 655 F.2d 1305, 1307-08 (D.C. Cir. 1981).

        Mr. Reyna’s amended complaint satisfies this standard. The court will accordingly dismiss

the amended complaint, ECF No. 3, and this case, without prejudice. A separate order accompanies

this Memorandum Opinion.




                                                     LOREN L. ALIKHAN
                                                     United States District Judge

Date:   December 17, 2024




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